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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION



    In re:                                                  Chapter 11

    ATHENEX, INC., et al.,                                  Case No. 23-90295 (DRJ)

                                 Debtors.1                  (Jointly Administered)



       LIMITED OBJECTION AND RESERVATION OF RIGHTS OF MAIA
  PHARMACEUTICALS, INC. TO NOTICE OF EXECUTORY CONTRACTS AND
UNEXPIRED LEASES WHICH MAY BE ASSUMED AND ASSIGNED, PURSUANT TO
 SECTION 365 OF THE BANKRUPTCY CODE, IN CONNECTION WITH THE SALE
  OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS AND THE PROPOSED
                CURE AMOUNTS WITH RESPECT THERETO

         NOW COMES MAIA Pharmaceuticals, Inc. (“MAIA”), by and through its counsel, Orrick,

Herrington & Sutcliffe, LLP, and hereby files this limited objection to the Notice of Executory

Contracts and Unexpired Leases Which May Be Assumed and Assigned, Pursuant to Section 365

of the Bankruptcy Code, in Connection with the Sale of Substantially All of the Debtors’ Assets

and the Proposed Cute Amounts with Respect Thereto [ECF No. 141] (the “Assumption Notice”).

         1.      On May 14, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

         2.      On May 14, 2023, the Debtors filed the Debtors’ Emergency Motion for (I) Entry

of an Order Approving (A) Bid Procedures; (B) the Form and Manner of Notice; (C) the



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 1001 Main Street, Suite 600, Buffalo, NY
14203.


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Procedures for Determining Cure Amounts for Executory Contracts and Unexpired Leases; and

(II) Entry of an Order Approving (A) the Sale of Substantially All of the Debtors’ Assets Free and

Clear of All Liens, Claims, Encumbrances and Interests; and (B) the Assumption and Assignment

of Certain Contracts and Unexpired Leases [ECF No. 17] (the “Bid Procedures and Sale

Motion”).

         3.      Pursuant to the Bid Procedures and Sale Motion, the Debtors sought (a) entry of an

order (the “Bid Procedures Order”) (i) approving the form and notice of assumption and, if

necessary, assignment, of executory contracts and expired leases and (ii) establishing procedures

for determining cure amounts in connection with the assumption and, if necessary, assignment of

executory contracts, and (b) entry of an order (the “Sale Order”) authorizing the assumption and

assignment of certain executory contracts and unexpired leases.

         4.      On May 22, 2023, the Court entered the Bid Procedures Order [ECF No. 113],

which, among other things, established procedures related to cure amounts in connection with the

assumption and, if necessary, assignment of executory contracts.

         5.      On May 26, 2023, the Debtors filed the Assumption Notice, indicating that they

intended to assume and assign the Amended and Restated Exclusive Distribution and Supply

Agreement, “License Agreement” (the “MAIA-APD License Agreement”)2 between MAIA and

Athenex Pharmaceutical Division, LLC (“APD”) to the Prevailing Purchaser (as defined in the

Bid Procedures and Sale Motion) in connection with the sale of the Debtors’ assets and in

accordance with the procedures set forth in the Bid Procedures Order.




2
 Capitalized terms used herein and otherwise not defined shall have the meaning ascribed to such term in the
MAIA-APD License Agreement. MAIA believes that the Debtors have a copy of the Agreement but, if not, MAIA
will furnish the Debtors with a copy upon written request.


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         6.      Before the Debtors can assume and assign the MAIA-APD License Agreement (to

the extent the MAIA-APD License Agreement is subject to assumption and assignment), the

Debtors must cure the entire arrearages owed to MAIA.

                                 Q2 Quarterly Profit Payments

         7.      Pursuant to Section 6.3 of the MAIA-APD License Agreement, APD agreed to pay

MAIA the Adjusted Gross Profit Share of the Product(s) in the Territory during the Term as set

forth in paragraphs 3 and 4 of Exhibit 1.2 thereto. Paragraph 3 of Exhibit 1.2, in turn, provides

that, during the Term of the MAIA-APD License Agreement, MAIA shall be paid, on a calendar

quarterly basis, (i) fifty percent (50%) of the Adjusted Gross Profits attributable to the Maia ANDA

Product (levothyroxine sodium for injection) in the Territory and (ii) fifty-six percent (56%) of the

Adjusted Gross Profits attributable to the Maia NDA Product (bivalirudin injection) in the

Territory (together, the “Quarterly Profit Payments”).

         8.      The Assumption Notice lists a cure amount of $1,291,535.00 (the “Proposed Cure

Amount”) for the MAIA-APD License Agreement. This amount only reflects the Quarterly Profit

Payments due to MAIA for Q1 2023, as reflected on the invoice attached hereto as Exhibit A. The

Proposed Cure Amount does not include the Quarterly Profit Payments due to MAIA for Q2 2023,

which MAIA estimates to be (i) $825,000.00 for the prepetition period between April 1, 2023 and

May 13, 2023, and (ii) an additional $825,000.00 for the post-petition period between May 14,

2023 and June 30, 2023.        The Proposed Cure Amount should therefore be increased by

$1,650,000.00 to reflect the total amount due to MAIA for Q1 and Q2 ($2,941,535.00).

                                  Indemnification Obligations

         9.      Pursuant to Section 12.1.2 of the MAIA-APD License Agreement, APD agreed to

Indemnify MAIA and its agents, directors, officers and employees, and any of their respective



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successors and assigns (the “MAIA Indemnitees”), from and against any and all Liabilities

resulting from Third-Party Claims against any MAIA Indemnitee arising from or occurring as a

result of, inter alia, the Commercialization, use, marketing, distribution, offer for sale, sale,

promotion, importation or other Commercialization of the Product(s) by or on behalf of APD or

its Affiliates.

         10.      According to Gland Pharma Limited (“Gland”), APD owes Gland $742,140.00 on

account of (i) that certain invoice M12317000460 dated January 27, 2023, attached hereto as

Exhibit B and (ii) that certain invoice M12317000491 dated February 3, 2023 attached hereto as

Exhibit C (together, the “Gland Overdue Invoices”).3 It is MAIA’s understanding that the Gland

Overdue Invoices relate to Commercialization of the Product.

         11.      Gland has informed MAIA that, to the extent APD fails to pay the Gland Overdue

Invoices, Gland will hold MAIA responsible for the amounts due thereunder. Accordingly, if APD

does not increase the cure amount due to Gland by $742,140.00 to account for the Gland Overdue

Invoices, the Proposed Cure Amount due to MAIA should be increased by $742,140.00 pursuant

to the indemnification clause in the MAIA-APD License Agreement.

                                         Reservation of Rights

         12.      MAIA is filing this limited objection in order to preserve its rights, including its

right to assert that all or any portion of its claims constitute administrative expense claims or other

priority claims.




3
  The $742,140.00 due to Gland on account of the Gland Overdue Invoices is not included in the $3,881,428.50
proposed cure amount ascribed to Gland on Exhibit A to the Assumption Notice.

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         13.     MAIA hereby preserves the right to assert additional cures or other amounts against

the Debtors, their estates or the Prevailing Purchaser (as defined in the Bid Procedures and Sale

Motion), in the event of any post-petition (but pre-assumption) defaults.

         WHEREFORE, MAIA respectfully requests that the Court require the amount of cure

payments be increased as set forth herein, prior to the assumption and assignment of the MAIA-

APD License Agreement.


Dated: June 7, 2023                            ORRICK, HERRINGTON & SUTCLIFFE LLP

                                               By: /s/ Laura Metzger
                                               Laura Metzger (admitted pro hac vice)
                                               51 West 52nd Street
                                               New York, N.Y. 10019
                                               Telephone: (212) 506-5000
                                               E-mail:     lmetzger@orrick.com

                                               Attorneys for MAIA Pharmaceuticals, Inc.




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                                     CERTIFICATION OF SERVICE

           The undersigned certifies that on June 7, 2023, a true and correct copy of the foregoing

document was served on all parties receiving notice via the Court’s CM/ECF system and the

Objection Notice Parties listed as follows: (a) counsel to the Debtors, Pachulski Stang Ziehl &

Jones LLP, 440 Louisiana Ave., Suite 900, Houston, Texas, 77002, Attn: Michael D. Warner

(mwarner@pszjlaw.com) and 10100 Santa Monica Blvd., Suite 1300, Los Angeles, California

90067, Attn: Richard M. Pachulski (rpachulski@pszjlaw.com), Debra I. Grassgreen

(dgrassgreen@pszjlaw.com), and Shirley S. Cho (scho@pszjlaw.com); (ii) counsel to the Agent,

Sullivan & Cromwell LLP, Attn: Ari B. Blaut (blauta@sullcrom.com), Daniel R. Loeser

(loeserd@sullcrom.com), Benjamin S. Beller (bellerb@sullcrom.com), Mark E. Dendinger

(mark.dendinger@bracewell.com), Jonathan Lozano (jonathan.lozano@bracewell.com); (iii)

counsel to the Prevailing Purchaser, if one has been determined; 4 (iv) proposed counsel to the

Committee, (a) McKool Smith PC, 600 Travis Street, Suite 7000, Houston, TX 77002, Attn: John

J. Sparacino (jsparacino@mckoolsmith.com) and S. Margie Venus (mvenus@mckoolsmith.com);

and (b) Porzio, Bromberg & Newman, P.C., 100 Southgate Parkway, P.O. Box 1997, Morristown,

NJ 07962-1997, Attn: Warren J. Martin, Jr. (WJMartin@pbnlaw.com), Robert M. Schechter

(RMSchechter@pbnlaw.com) and Rachel A. Parisi (RAParisi@pbnlaw.com); (v) counsel to the

Stalking Horse Bidder(s), if any;5 and (vi) the United States Trustee at the Office of the United

States Trustee, 515 Rusk St, #3516, Houston, Texas, 77002, (Attn: Jana Smith Whitworth

(Jana.Whitworth@usdoj.gov) and Ha Nguyen (Ha.Nguyen@usdoj.gov).




4
    No Prevailing Purchaser with respect to the MAIA-APD License Agreement at the time of filing.
5
    No Stalking Horse Bidder(s) with respect to the MAIA-APD License Agreement at the time of filing.

                                                         6
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Dated: June 7, 2023                   ORRICK, HERRINGTON & SUTCLIFFE LLP

                                      By: /s/ Laura Metzger
                                      Laura Metzger (admitted pro hac vice)
                                      51 West 52nd Street
                                      New York, N.Y. 10019
                                      Telephone: (212) 506-5000
                                      E-mail:     lmetzger@orrick.com




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                           EXHIBIT A

            Q1 Quarterly Profit Payments Invoice (MAIA)
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Profit Share Invoice                                                                                                                             Q1 2023
MAIA                                                                                         Invoice Number:                        MA - US - LEV - 17 - Q1 2023
707 State Road; Suite 104                                                                         Invoice Date:                                        April 27, 2023
Princeton, NJ 08540                                                                                   Due Date:                                         May 27, 2023
BIKRAM MALIK
bmalik@maiapharma.com
                                                                                                Description                                                 Amount
609-436-9148
                                                                      Adj. Base Gross Profit LEVOTHYROXINE                                                 $1,155,387
ATHENEX                                                                   Adj. Base Gross Profit BIVALIRUDIN                                                 $121,415
10 N. Martingale Road; Suite 130                                      Additional Gross Profit LEVOTHYROXINE                                                          $0
Schaumberg, IL 60173                                                      Additional Gross Profit BIVALIRUDIN                                                        $0
RON IMBORDINO, CPA                                                                Pharmacovigilance Expenses                                                   $14,733
rimbordino@athenex.com                                                                                       Other
847-232-4052
                                                                                         DUE TO MAIA                                                $1,291,535
PRODUCTS
Levothyroxine Sodium Injection                                                                                                                        Payment Terms
100mcg, 200mcg, 500mcg                                                                                                                                      Net 30 Days

Bivalirudin Ready-to-Use Injection                                     Any "Due to MAIA" payment not received by Due Date is subject to an interest rate of 2% per month

250mg/50mL                                                            MAIA Pharmaceuticals, Inc. is not responsible for any bank fee associated with Wire / ACH transfers



BANK INFORMATION
Bank of America
1848 Easton Avenue; Somerset, NJ 08873
MAIA Pharmaceurticals, Inc.
A/C: 3810 3457 4661
SWIFT: BOFAUS3N
                                                                                                              BIKRAM MALIK, MAIA PHARMACEUTICALS, INC.
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                            EXHIBIT B

           Invoice M12317000460 – January 27, 2023 (Gland)
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                                                                             COMMERCIAL INVOICE                                                                                                            Page 1 of 2
                   Gland Pharma Limited                                                Invoice No & Date: M12317000460 DT 27.01.2023                      Pre-Carriage by : BY ROAD
                   Sy.No.143 to 148,150&151                                            Reference : 7000000701 DT 27.01.2023                               Place of Receipt by Pre-carrier: HYDERABAD-INDIA
                   Near Gandimaisamma X Road,                                          Buyer Order No & Date: 2100283 DT 16.08.2022                       Country of Origin of Goods : INDIA
                   Dommara Pochampally, Qutbullapur Mandal                             LC No & Date: DT                                                   Country of Final Destination : USA
                   Dundigal Post                                                       Performa No & Date:                                                Mode of Shipment : AIR
                   Hyderabad, 500043                                                   Payment terms: Incoming Payment-45 Days                            Port of Loading : Hyderabad#Air Cargo
                   Telangana,India                                                     Incoterms : Ex Works                                               Terms of Delivery : EXW
                   GST Number : 36AAACG8036B1ZZ                                                                                                           Port of Discharge : Chicago#(IL) O' Hare International Airport
                   IEC Number : 0990002110                                                                                                                Final Destination : USA
                                                                                                                                                          Total No of Shippers : 147
CONSIGNEE/SHIP TO                               BILL TO                                           Buyer/Notify (if other than consignee)
                                                                                                                                                          Total No of Pallets : 04
Athenex Pharmaceutical Division                 Athenex Pharmaceutical Division, LLC              Athenex Pharmaceutical Division, LLC
                                                                                                                                                          Total Gross WT : 1365.652
C/o Eversana Life Science Services              Conventus Building, 1001 Main St., Suite 600      Conventus Building, 1001 Main St., Suite 600
                                                                                                                                                          Total Net wt : 1254.667
4580 S. Mendenhall Road,                        Buffalo, 14203                                    Buffalo, 14203
                                                                                                                                                          Total Wt (Pallet + Gross Wt) : 1437.652
Memphis, 38141                                  New York,USA                                      New York,USA
                                                                                                                                                          Storage / transit Condition: + 2 TO 8 DEGRESS
Tennessee,USA
                                                                                                                                                          Origin Of Goods : India


S.NO         Product Particulars      Size of     Size of    Shippers    HSN/ SAC      Quantity    UOM           Batch Details      Rate in USD Basic Amount      Freight       Insurance    Other Charges Total Amount
                                      Shipper      Pallet                  Code                                                                                                                               in USD
    1   BIVALIRUDIN INJECTION        330X270X1 1200X1000X       147       30049099       8810        EA     Batch No: A2310001        42.0000     370,020.00                                                   370,020.00
        250MG/50ML (5MG/ML),           85MM      1150MM                                                     MFG dt: 17/12/2022
        50ML VIAL                                                                                           EXP dt: 16/06/2024



        NDC No: 7086040351
        ANDA No: 211215
        FDA Code: 61 L C P -39
Total                                                                                                                                            370,020.00                                                   370,020.00
Remarks
 02 DATA LOGGERS PLACED




Total Invoice Value in Doc Currency : US DOLLAR THREE HUNDRED SEVENTY THOUSAND TWENTY ONLY
                                                               Case 23-90295 Document 177 Filed in TXSB on 06/07/23 Page 12 of 15
                                                                                       COMMERCIAL INVOICE                                                                                                 Page 2 of 2
                      Gland Pharma Limited                                                      Invoice No & Date: M12317000460 DT 27.01.2023            Pre-Carriage by : BY ROAD
                      Sy.No.143 to 148,150&151                                                  Reference : 7000000701 DT 27.01.2023                     Place of Receipt by Pre-carrier: HYDERABAD-INDIA
                      Near Gandimaisamma X Road,                                                Buyer Order No & Date: 2100283 DT 16.08.2022             Country of Origin of Goods : INDIA
                      Dommara Pochampally, Qutbullapur Mandal                                   LC No & Date: DT                                         Country of Final Destination : USA
                      Dundigal Post                                                             Performa No & Date:                                      Mode of Shipment : AIR
                      Hyderabad, 500043                                                         Payment terms: Incoming Payment-45 Days                  Port of Loading : Hyderabad#Air Cargo
                      Telangana,India                                                           Incoterms : Ex Works                                     Terms of Delivery : EXW
                      GST Number : 36AAACG8036B1ZZ                                                                                                       Port of Discharge : Chicago#(IL) O' Hare International Airport
                      IEC Number : 0990002110                                                                                                            Final Destination : USA
                                                                                                                                                         Total No of Shippers : 147
CONSIGNEE/SHIP TO                                        BILL TO                                          Buyer/Notify (if other than consignee)
                                                                                                                                                         Total No of Pallets : 04
Athenex Pharmaceutical Division                          Athenex Pharmaceutical Division, LLC             Athenex Pharmaceutical Division, LLC
                                                                                                                                                         Total Gross WT : 1365.652
C/o Eversana Life Science Services                       Conventus Building, 1001 Main St., Suite 600     Conventus Building, 1001 Main St., Suite 600
                                                                                                                                                         Total Net wt : 1254.667
4580 S. Mendenhall Road,                                 Buffalo, 14203                                   Buffalo, 14203
                                                                                                                                                         Total Wt (Pallet + Gross Wt) : 1437.652
Memphis, 38141                                           New York,USA                                     New York,USA
                                                                                                                                                         Storage / transit Condition: + 2 TO 8 DEGRESS
Tennessee,USA
                                                                                                                                                         Origin Of Goods : India


Bank Details:
Field 56A- (Intermediary Institution): CHASUS33 ** (J P Morgan Chase Bank NA, New York)
Field 57A- (Account with Institution): CNRBINBBBFD (Canara Bank, CPC Forex, Mumbai)
Field 59- (Beneficiary/Customer Name): M/s GLAND PHARMA LIMITED
Address: Survey No. 143-148, 150 & 151, Near Gandimaisamma ' X' Roads, Hyderabad-500043
Beneficiary Account Number: 30491070000030


Declaration                                                                                                                                                      FOR GLAND PHARMA LIMITED.
We declare that this invoice shows the actual price of the goods
described and that all particulars are true and correct
                                                                                                                                                                      AUTHORISED SIGNATORY
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                            EXHIBIT C

           Invoice M12317000491 – February 3, 2023 (Gland)
                                                     Case 23-90295 Document 177 Filed in TXSB on 06/07/23 Page 14 of 15
                                                                             COMMERCIAL INVOICE                                                                                                              Page 1 of 2
                   Gland Pharma Limited                                                Invoice No & Date: M12317000491 DT 03.02.2023                      Pre-Carriage by : BY ROAD
                   Sy.No.143 to 148,150&151                                            Reference : 7000000756 DT 03.02.2023                               Place of Receipt by Pre-carrier: HYDERABAD-INDIA
                   Near Gandimaisamma X Road,                                          Buyer Order No & Date: 2100302 DT 28.09.2022                       Country of Origin of Goods : INDIA
                   Dommara Pochampally, Qutbullapur Mandal                             LC No & Date: DT                                                   Country of Final Destination : USA
                   Dundigal Post                                                       Performa No & Date:                                                Mode of Shipment : AIR
                   Hyderabad, 500043                                                   Payment terms: Incoming Payment-45 Days                            Port of Loading : Hyderabad#Air Cargo
                   Telangana,India                                                     Incoterms : Ex Works                                               Terms of Delivery : EXW
                   GST Number : 36AAACG8036B1ZZ                                                                                                           Port of Discharge : Atlanta#(GA) - Hartsfield Atlanta International
                   IEC Number : 0990002110                                                                                                                Ai
                                                                                                                                                          Final Destination : USA
CONSIGNEE/SHIP TO                               BILL TO                                           Buyer/Notify (if other than consignee)
                                                                                                                                                          Total No of Shippers : 148
Athenex Pharmaceutical Division                 Athenex Pharmaceutical Division, LLC              Athenex Pharmaceutical Division, LLC
                                                                                                                                                          Total No of Pallets : 04
C/o Eversana Life Science Services              Conventus Building, 1001 Main St., Suite 600      Conventus Building, 1001 Main St., Suite 600
                                                                                                                                                          Total Gross WT : 1363.70
4580 S. Mendenhall Road,                        Buffalo, 14203                                    Buffalo, 14203
                                                                                                                                                          Total Net wt : 1259.212
Memphis, 38141                                  New York,USA                                      New York,USA
                                                                                                                                                          Total Wt (Pallet + Gross Wt) : 1435.7
Tennessee,USA
                                                                                                                                                          Storage / transit Condition: + 2 TO 8° C
                                                                                                                                                          Origin Of Goods : India
S.NO         Product Particulars      Size of     Size of    Shippers    HSN/ SAC      Quantity    UOM           Batch Details      Rate in USD Basic Amount       Freight       Insurance    Other Charges Total Amount
                                      Shipper      Pallet                  Code                                                                                                                                in USD
    1   BIVALIRUDIN INJECTION        330X270X1 1200X1000X       148       30049099       8860        EA     Batch No: A2310002        42.0000     372,120.00                                                     372,120.00
        250MG/50ML (5MG/ML),           85MM      1150MM                                                     MFG dt: 27/12/2022
        50ML VIAL                                                                                           EXP dt: 26/06/2024



        NDC No: 7086040351
        ANDA No: 211215
        FDA Code: 61 L C P -39
Total                                                                                                                                            372,120.00                                                    372,120.00
Remarks
 02 DATA LOGGERS PLACED




Total Invoice Value in Doc Currency : US DOLLAR THREE HUNDRED SEVENTY-TWO THOUSAND ONE HUNDRED TWENTY ONLY
                                                               Case 23-90295 Document 177 Filed in TXSB on 06/07/23 Page 15 of 15
                                                                                       COMMERCIAL INVOICE                                                                                                   Page 2 of 2
                      Gland Pharma Limited                                                      Invoice No & Date: M12317000491 DT 03.02.2023            Pre-Carriage by : BY ROAD
                      Sy.No.143 to 148,150&151                                                  Reference : 7000000756 DT 03.02.2023                     Place of Receipt by Pre-carrier: HYDERABAD-INDIA
                      Near Gandimaisamma X Road,                                                Buyer Order No & Date: 2100302 DT 28.09.2022             Country of Origin of Goods : INDIA
                      Dommara Pochampally, Qutbullapur Mandal                                   LC No & Date: DT                                         Country of Final Destination : USA
                      Dundigal Post                                                             Performa No & Date:                                      Mode of Shipment : AIR
                      Hyderabad, 500043                                                         Payment terms: Incoming Payment-45 Days                  Port of Loading : Hyderabad#Air Cargo
                      Telangana,India                                                           Incoterms : Ex Works                                     Terms of Delivery : EXW
                      GST Number : 36AAACG8036B1ZZ                                                                                                       Port of Discharge : Atlanta#(GA) - Hartsfield Atlanta International
                      IEC Number : 0990002110                                                                                                            Ai
                                                                                                                                                         Final Destination : USA
CONSIGNEE/SHIP TO                                        BILL TO                                          Buyer/Notify (if other than consignee)
                                                                                                                                                         Total No of Shippers : 148
Athenex Pharmaceutical Division                          Athenex Pharmaceutical Division, LLC             Athenex Pharmaceutical Division, LLC
                                                                                                                                                         Total No of Pallets : 04
C/o Eversana Life Science Services                       Conventus Building, 1001 Main St., Suite 600     Conventus Building, 1001 Main St., Suite 600
                                                                                                                                                         Total Gross WT : 1363.70
4580 S. Mendenhall Road,                                 Buffalo, 14203                                   Buffalo, 14203
                                                                                                                                                         Total Net wt : 1259.212
Memphis, 38141                                           New York,USA                                     New York,USA
                                                                                                                                                         Total Wt (Pallet + Gross Wt) : 1435.7
Tennessee,USA
                                                                                                                                                         Storage / transit Condition: + 2 TO 8° C
                                                                                                                                                         Origin Of Goods : India
Bank Details:
Field 56A- (Intermediary Institution): CHASUS33 ** (J P Morgan Chase Bank NA, New York)
Field 57A- (Account with Institution): CNRBINBBBFD (Canara Bank, CPC Forex, Mumbai)
Field 59- (Beneficiary/Customer Name): M/s GLAND PHARMA LIMITED
Address: Survey No. 143-148, 150 & 151, Near Gandimaisamma ' X' Roads, Hyderabad-500043
Beneficiary Account Number: 30491070000030


Declaration                                                                                                                                                      FOR GLAND PHARMA LIMITED.
We declare that this invoice shows the actual price of the goods
described and that all particulars are true and correct
                                                                                                                                                                      AUTHORISED SIGNATORY
